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                               UM TED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                        x o.   lQ-33.SH -
                                                        3-3o
 UM TED STA TES O F A M ER ICA

 V S.


 JO SE PE GU ER O ,AN D R ES O ZUA L,and
  LUIS A N G EL TE JAD A -G U ZM AN

           D efendants.
                                                        /

                                      CRTM TNAL COW R STTEET

        Did this mat-ter originate f'
                                    rom a m atterpending in the CentralRegion ofthe United States
        Attorney'sOfficepriortoAugust9,2013(M ag.JudgeAliciaValle)? .-xes X No
        Did this m atler originate from a m atterpending in the N orthel'n R egion ofthe U nited States
        Attom ey'sOfficepriortoAugust8,2014 (M ag.JudgeShaniekM aynard)?--Yes X No
                                                        Respectfully submitled,

                                                        ARIAN A FA JARDO ORSHAN
                                                        UNITED STATES A TTORNEY

                                                                       .          #

                                                                      )
                                                         arlee M .Valenti
                                                        SpecialA ssistantUnited StatesAttorney
                                                        Cou:'tI.D .N o.A5502473
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                                                              N W 20th Street,Suite 101
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    AO 91(Rev.08/09) CriminalComplaint

                                     U NITED STATES D ISTRICT C OLFRT
                                                                forthe
                                                     Southern DistrictofFlorida

                   United StatesofAmerica                          )
                                V.                                 )
          Jo sE PEG UERO ,A NDRES OZUAL,and
              LUls ANG ELTEJADA-GUZMA N
                                                                   ) casexo.IQ - 3 3 5 H 'O o
                                                                   )
                                                                   )
                            Depndantls)

                                                    CRIM INAL COU LAINT

            1,thecomplainantin thiscase,statethatthefollowing istruetothebestofmy knowledge and belief.
    Onoraboutthedatets)of Auqust20andSeptember9,2019 inthecountyof                                  'Miami-Dade       inthe
       Southern Districtof        Florida      ,thedefendantts)violated:
'
               CodeSection                                                  Op nseDescrl
                                                                                       ption
    21U.S.C.j846                                 Conspiracyto Possessw i th Intentto Distribute Cocaine
    21U.S.C.j841(a)(1)                           Possessionw i
                                                             th Intentto Distribute Cocaine




          Thiscrilninalcom plaintisbased on thesefacts:
    SEE ATTACHED A FFIDAVIT.




            W continuedontheatlachedsheet.                                                  Z
                                                                                            .




                                                                                          Complainant'
                                                                                                     ss'f
                                                                                                        gn/fifre

                                                                                  StevenAvil D EA Task ForceOfficer
                                                                                                inted m and ff//e '

    Sw orntobeforeme and signed in my presence.


    oate, /, /).1,,                                                                             udge'sJfpw/urc

    Ci'
      ty and state:                       Miam i,Florida                          Joh O'Sulli
                                                                                            van,U.S.M a istrateJud e
                                                                                           Printed nameandtitle
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                                                                         /GI-CtIW.SH -D-.M
                 AFFIDAW T IN SUPPORT OF CRIM INAL COM PLAINT

        1,Steven Avila,being duly sworn,atlestandaflsrm thefollowing:
                                                               $

               1havebeen a Police Officerwith theHialeah GardensPoliceDepe m entforeight

 (8) years.Ihave been deputized as a Task Force Officer(TFO)with the Dnlg Enforcement
 Adlninistration (DEA) since 2017. 1 have been involved in numerous narcotics related
 investigationsand haveassisted local,state,and federalagencieswith theirinvestigations.1have

 m ade ntlmerousarreststhroughoutmy career,conducte'
                                                   d numerous undercoverdnzg purchases,

 controlled buys, and reverse sting opçrations.1 have received training âom the DEA, High
 '
                                          '
                        e
 IntensityDrug TrafficklngAzea(HIDTA),andvariousstateandfederalagenciesthatspecialize
 in narcotic investigative m atters, including,'but not lim ited to, investigative interviews,

 illicit/designer drug identifications, introduction to narcotics investigations, narcotics and

 dangezous drugsinvestigations,narcoticsinvestigations,streetsuzvival,specialtacticalProblem ,

 andhighwayvehiclestops.

        2.      Tllisaffidavitissubznitled in supportofa criminalcomplaintagainstdefendants

 JosePEGUERO hereinafterrefen'ed to asPEGUERO,AndresOZUA L hereinafterrefen'
                                                                           ed to as

 OZUAL,andLuisAngelTEJADA-GUZMAN,hereinaRerreferredtoasTEJADA,(collectively,
 theDefendants).Asexplainedindetailbelow,Irespectfullysubrnitthatthereisprobablecause
                                  .
                                                           %



 to believethat,in oraround August2019 continuing through in orarotm d Septem ber2019,in

 M iam i-Dade County,in the Southem DistrictofFlorida,theDefendants did conspiretopossess

 w ith intentto distdbute 500 gram s or m ore of a m ixtare and substance containing a detectable

 am ountof cocaine,in violation ofTitle 21,Uzlited States Code,Section 846,
                                                                          .alld did possess with

 illtentto distribute500 gramsorm oreOfaznixtiu'e alzd substancecontaining adetectablenm ount

 ofcocaine,inviolation ofTitle21,UrzitedStatesCode,Sectidh 841(a)(1).
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                The inform ation contained in thisao davitisbased on m y personalknowledge as

 wellasinformation relayed to m eby otherlaw enforcem entagents and officers involved in this

 investigation. The information set forth in tllis affidavit is provided solely for the pup ose of

 establishingprobablecausefortheazrestoftheDefendr ts.A ssuch,itdoesnotincludeal1ofthe

 information lcnown to m eabouttllisinvestigatiàn.

                 During the m onth of August 2019 M inm i Beach Police Special lnvestigation

 Section (M BPD S1S)contactedDEA inregardstoPEGUERO whoisakllown cocainetrafficker
 tothe(DEA).M BPD hasaconfidentialsource,hereinaAerrefen'edtoastheCSi,whohasknown
 PEGUERO forseveralyeazs.According totheCS,PEGUERO isacocaineldlogram leveldealer.

 The CS stated that afterPU GUER O w as arrested for trao cking cocaine severalyears ago,he

 hasbecom e m ore cautious w hen negotiating and dealing in cocaine transactions.Thzoughoutthe

 investig>tion, 1aw enforcem ent has lenrned that PEGU ERO recruited OZU A L as a drtzg

 runner.Tk oughouttheinvestigation andthzough iaform ation from theCS,1aw enforcem enthas

 lea edthatOZUAL sellscocaineforPEGUERO outofOZUAL'Sapartmentlocatedat846Lenox

 A venue,A PT 209 M ianliBeach,FL,33139,hereinafterrefen'ed to asthe OZUA L residence.

                On A ugust 20, 2019,at 11:00 a.m ., law enforcem ent m et w ith the CS at a

 predeterm ined location, and equipped the C S w ith a recording audio recording device. Law

 enforcem entconducted aftz11search oftheCSto affirm thathedid nothave anycontraband onlzs

 person with negative results.At 11:15 a.m ., 1aw enforcem ent established surveillance atthe

J''OZU AL residence. Law enforcem entsurveillancew asalso located PEGU ER O'Sresidencelocated

 at 1200 W estA venue,hereinafterrefen'ed to asthe PEGUER O residence.




 1TheCS hasproven reliablethroughoutthecourseofthisinvestigation.
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        6.     At11:32 a.m.,theCSplaced acontrolledtelephoniccalltoPEGUERO (tophone
 number(786)269-1199)toinquizeaboutthepurchaseofthree(3)ouncesofcocaine,whichtheCS
 had previously negotiated with PEGUERO on Thtlrsday,A ugust 15,2019.PEGUE RO did not

 answerthephone call,butim mediately responded to the CS viatextm essage.The CS replied by

 asking PEGUERO if OZUAL hadkrlowledge of the nazcoticstzansaction tlley had previously

 negotiated.PEOUERO repliedtotheCSyes,butthatOZUAL onlyhad (2)ouncesandadvised
 the CS thatthetllird ouncewouldbe availablelaterthatday.

               At11:38a.m.,theCS conductedacontrolledtelephozkiccalltoOZUAL (tophone
 number(786)491-5770)andaskedhim aboutpurchasingthetwo(2)ouncesofcocaine.At12:40
 p.m.,OZUAL calledtheCS andadvisedthathewashomeandavailableforthesaleofthe'
                                                                          two(2)
 ouncesofcocaine.TheCSwasprovidedwit.
                                    h$2,150.00ofDEA officialadvancefunds(OAF).At
 12:55 p.m .in the presence of1aw enforcem entthe CS began by w alking north on Lenox A venue

 âom 8 Streeton the sidewalk toward the OZUAL residence.Law enforcem enthad aclear and

 unobstnlcted visualoftheCS ata1ltim esastheCS appfoached the OZUAL residence.

        8.     At 12:57 p.m .,1aw ezlforcem entobserved the CS anive atthe OZU A L residence.

 Whileinsidethe apartment,OZUAL provided theCS with two (2)ouncesofcocaine,and in
 retul'n,the CS gave OZUAT,$2,150.00 ofDEA OAF com pleting the drug transaction.At1:00
 P.m.v1aw enforcement observed theCj exitthe OZUAL residence and walk towardsthe
 predetermined m eetlocation.The CS wasmetby 1aw enforcem ent,and handed law enforcement

 thetwo(2)ouncesofcocaine,wllich wereseparatedintotwo(2)clearplasticbags.A fullsearch
 ofthe CS w as conducted for contraband orm oney w ith negative results. The suspected cocaine

 subsequently seld-testedpositivef0rthepresenceofcocaine.
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               At approxim ately 4:11 p.m .,the CS was instructed to send a text m essage to

 OZUAL advising thathe/shewasready topurchasethethird ounce. At5:14p.m .,the CS senta

 controlledtextm essagetoPEGUERO inquiring whentheotherotmcewouldbeready forpick up.
 PEGUERO replied thatOZUAI,willtextthe CS assoon asthenew shipmentofcocaineanives.

         10. At7:10 p.m .,law enforcem entobselwed a wllite M ercedesBellz bearilng Flozida

 tag 8I1-
        1EU park on Lenox Avenue directly in frontofthe OZUAL residence.A wllite l'
                                                                                  Iispanic

 m ale exited the vehicle and w alked tow ards the OZU AT,residence.Shortly after,the O spanic
                                        /
 m ale w as obselved leaving the apartm ent, and w alking back tow ards his vellicle.The

 m ale enteredhisvehicle and droveaway from the OZUAL residence.A recordscheck ofthetag

 revealed thatthevehicle w asregistered TEJAD A .

               A tapproxim ately 7:15 p.m .,OZU AL sentatextm essageto the CS stating thatthe

 one(1)ounceofcocainehadjustanived.At7:35p.m.,1aw enfbrcementconducted afullsem'ch
 oftheCS forcontraband orm oneywith negativeresults.At7:39p.m .?1aw enforcementprovided

 the CS with $1,080.00 ofDEA OAF.Irïthepresence oflaw entbrcem ent,theCS walkedtowards

 the OZU A L residence. Law enforcem enthad a clear qnd lm obstructed view ofthe CS as the CS

 enteredtheOZUALresidence.W llileinsidetheapartment,OZUAL providedtheCSwithone(1)
 ounceofcocaineinexchangefor01,080.00iIADEA OAF.At7:42p.m.,1aw ezkforcementobserved
 the CS exittheOZUAL residence.Law enfozcementm aintained a clearandlm obstructed view of

 the CS astheCS walkedtothepredetermined meetlocation.

         12. Law enforcem entthen m etw ith the CS,the CS handed 1aw enforcem ent a clear

 plasticbag thatcontained one (1)ounce ofcocaine.A ftz11search ofthe CS wasconducted for
 contraband and m oney with negativeresults.The suspected cocaine field-tested positiveforthe

 presence ofcocabae. Law ee orcem enttranspoded the CS to theM BPD station.The CS stated
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 thathesaw OZUAL retrievetheone(1)ouncefrom alargeclearplasticbagthatcontained20-30
 one(1)ouncesimilm'bagsofcocaineinside.TheCStoldOZUAL thathewouldberetulmingthe
 following week formore cocaine.

               On August 28, 2019, the CS m et with PEOLFERO                   negotiate the

 purchasep
         'ricefornine(9)ouncesofcocaine.
               On Septem ber 9,2019, at 11:10 a.m .,the CS azrived at the pzedeterm ined m eet

 location. At 11:11 a.m .,the CS wassearched by 1aw enforcementfor contraband with negative

 results. A t 11:30 a.m ., the CS placed a controlled recorded telephonic called to OZUA L to

 discussmeetingtopurchasethenine(9)otmcesofcocaine.OZUAL explainedtotheCSthathe
 onlyhadseven(7)ouncesofcocaineatthetime,andthathewouldhavetheothertwo(2)otmces
 ofcocaineavailablelaterintheday.TheCS agreedtoptlrchasetheseven (7)availableolmcesof
 cocaine,andret'ul'
                  n laterfortheadditionaltwo(2)ouncesofcocaine.
        15. At11:45a.m .,theCSw asequippedwith audioandvideotransm itlingdevices.The

 CS wasprovidedwith $7,175.00ofDEA OAF.At12:12p.m .,inthepresenceof1aw enforcem ent,
 the CS approached the OZU AI,residence.At12:15 p.m .,the CS wasgreeted by OZUAL atthe

 door. The CS entered the apartm entand handed OZUAL the$7,175.00 OAF in ekchange for

 seven (7)ouncesofcocaine.At12.
                              :17p.m.,the CS exitedtheOZUAL residenceandwâlkedto
 the predetermined meetlocation where law enforcem entwere waiting. At 12:20 p.m .,the CS

 handedlaw enforcementaW almartgr
                                'ocerybagthatcontainingaclearplasticbagwithseven(7)
 ouncesof cocaine inside.The CS w as then seazched for contraband with negative results. The

 suspected cocaine field-tested positive forthepresence ofcocaine.

         16. A t 12:25 p.m .,1aw enfbrcem entobserve'
                                                    d O ZUA L leave llis apartm ent,and m eet

 with PEGUERO.At12:30p.m .,theCS placedacontrolledtelephol ccallirlthepresenceof1aw
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 enforcementto PEGUERO requesting atime ofdelivery forthe additionaltwo (2)ouncesof
 cocaine.PEGUERO toldtheCSthatthetwo(2)ouncesofcocainewouldbereadyafter6:00p.m.
        17.    Suzveillance was m aintained at theOZUAL residence and at the M acAzthur

 Causeway by 1aw enforcem ent. At5:50 p.m .,law enforcem entspotted a white M ercedesBenz

 bearing Florida tag 81HEU being driven by TEJADA. Tllisisthe sam e vehicle and driverthat

 wasseen on August20,2019visitingtheOZUAL residencewhen OZUAL neededtoreplenish llis

 cocaine supply.Law enforcementfollowed TEJADA easton 9th StreettowazdsLenox Avenue.

 At 5:55p.m .,an investigative stop w as conducted on TEJA DA .D etectiveshad TEJA D A step out

 ofthe vehicle and he wasinterviewed on the sidewalk by llis vehicle. TEJADA gave verbal

 consentto1aw erlforcem enttosearchhisvehicle. Insidethetnmk,1aw enforcem entlocated atool

 box thathad aclearplasticbag sticking outofit.Insidetheplasticbag,there wasapproxim ately

 309 gram s of suspected cocaine,which w as vacuum -sealed. Law entbrcem ent then seized the

 cocaine as evidence. TEJADA was subsequently released on the scene by law

 enforcem ent. TEJADA was not arrested at the tim e in an effort                  continue the

 investigation. TEJADA wasnotprovided areceiptfortheseized cocahe.

        18.    At6:38 p.m .,the CS placed a controlled recorded telephonic callto OZUA L. The

 CS asked OZUAL foïthestatusofthetw0(2)OuncesofcocaineOZUAL statedthattherewasa
 problem with the delivery of the package, and thathe was unable to complete the drug

 transaction. Based on my training,knowledgeand experience,1believethatOZUAL'Sreference

 to the packagew as irlreference to the cocaine.In addition,based on m y training,know ledge and

 experience,1believethattheproblem with the delivery ofthepackagewastheinvestigative stop

 and seizureofthecocainefrom TEJADA.
@
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             19.    Based on the above facts,I submitthere is probable cause to believe thatJose

      PEGUER O,A ndres OZU A L,and Luis A ngel TEJA DA -G UZM AN ,in or arotm d A ugust 2019

      continuing through in orarotm d Septem ber2019,i!lM iarni-D ade County,in the Southem Distdct

      ofFlorida,the D efendants did conspire to possesswith intentto distribute 500 gram s orm ore ofa

      rnixtureand substancecontaining adetectablenm otmtof cocnine,in violation ofTitle21,United

      StatesCode,Section 846,
                            .and didpossesswith intentto distribute500 grnrnsorm oreofam ixture

      and substmlcecontaining a detectable am ountof cocaine,in violation ofTitle 21,United States

      Code,Section 841(a)(1).
    FU RTHER Y O UR AFFIAN T SAY ETH N A U GH T .                                zr r
                                                                            .   z'

                                                             s-   -   y '
                                                                       mgzm w;
                                                           STEV EN Av lLA ,TA SK FOR CE OFFICER
                                                           U .s.D RIJG EN FO RCBM EN T A D M TN .



      Subscribedand s orn     bef re'
     DCtllis1 thdayofO             01'.

     H ON .JO    O    LIV AN
     U N ITED S ATES G GISTR ATE TUD GE
